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                                    EXHIBIT B
      Case
       Case21-30700-sgj11
             21-30700-sgj11
                          DocClaim
                             216-27Filed
                                       Filed
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 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 Abri Health Care Services, LLC                                                                                 U.S. Bankruptcy Court
                                                                                                                        Northern District of Texas
 Debtor 2
 (Spouse, if filing)                                                                                                             5/4/2021
 United States Bankruptcy Court           Northern District of Texas                                                     Robert . Colwell, Clerk
 Case number: 21−30700


Official Form 410
Proof of Claim                                                                                                                                       04/19

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            3741 Burning Tree Ln
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               3741 Burning Tree Ln                                           3741 Burning Tree Ln

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)
                                  Garland, TX 75042

                                                                                                 Garland, TX 75042

                                  Contact phone              12142265558                         Contact phone           12142265558
                                  Contact email                                                  Contact email
                                      anthonybosello@gmail.com                                        anthonybosello@gmail.com

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
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Part 2: Give Information About the Claim as of the Date the Case Was Filed
6.Do you have any                    No
  number you use to                  Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:       3391
  identify the debtor?


7.How much is the             $        350000.00                      Does this amount include interest or other charges?
  claim?                                                                No
                                                                        Yes. Attach statement itemizing interest, fees, expenses, or
                                                                        other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                                  Discrimination & Retaliation Claims


9. Is all or part of the            No
   claim secured?                   Yes. The claim is secured by a lien on property.
                                     Nature of property:
                                         Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                        Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                         Motor vehicle
                                         Other. Describe:


                                      Basis for perfection:

                                      Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                      interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                      document that shows the lien has been filed or recorded.)

                                      Value of property:                        $

                                      Amount of the claim that is               $
                                      secured:
                                      Amount of the claim that is               $                                    (The sum of the secured and
                                      unsecured:                                                                     unsecured amounts should
                                                                                                                     match the amount in line 7.)


                                      Amount necessary to cure any default as of the                     $
                                      date of the petition:

                                      Annual Interest Rate (when case was filed)                                     %
                                            Fixed
                                            Variable
10.Is this claim based on             No
   a lease?                           Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to           No
   a right of setoff?                 Yes. Identify the property:




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12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,025* of deposits toward purchase, lease, or rental of                    $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $13,650*) earned within                    $ 13650.00
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $ 10000.00
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/1/22 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                5/4/2021

                                                                 MM / DD / YYYY


                                 /s/ Anthony Bosello

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                        Anthony Bosello

                                                                            First name       Middle name         Last name
                                 Title

                                 Company                                     United State of America

                                                                            Identify the corporate servicer as the company if the authorized agent is a
                                                                            servicer
                                 Address                                     3741 Burning Tree Ln

                                                                            Number Street
                                                                             Garland, TX 75042

                                                                            City State ZIP Code
                                 Contact phone             12142265558                          Email         anthonybosello@gmail.com


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                                                   May 4, 2021


 Mike Templeton                                                                                  VIA U.S. MAIL
 Chief Operating Officer
 Abri Health Care Services (f/k/a Senior Care Centers LLC)
 600 N Pearl St. #1050
 Dallas, Texas 75201

          Re:      Discrimination & Retaliation Claims by Anthony Bosello

 Dear Mr. Templeton:

          We represent Anthony Bosello (“Mr. Bosello”) in his discrimination, harassment, and
 retaliation claims against Abri Health Care Services (f/k/a Senior Care Centers LLC) (“Abri”). Mr.
 Bosello was employed by Abri in Dallas, Texas from approximately May 2019 until December
 2019. Abri’s actions have violated Title VII of the Civil Rights Act of 1964, the Americans with
 Disabilities Act, as well as other applicable statutes.1

        Mr. Bosello was hired by Senior Care Centers in May 2019, after the company’s
 bankruptcy, to address accounting and financial mistakes. Throughout his employment, Mr.
 Bosello was subjected to discrimination, harassment, and retaliation by members of management.

         In or around August 2019, the human resources director, Millicent Mackey (“Ms.
 Mackey”), the vice president of accounting, Mike White (“Mr. White”), and the chief financial
 officer, Anthony Arnaudy (“Mr. Arnaudy”) informed Mr. Bosello that his boss, the director of
 accounting, Michael Joseph (“Mr. Joseph”), and two other accounting managers would be laid off
 because they were higher paid employees that made too many mistakes. Mr. Bosello was told that
 Mr. Joseph’s work was putting the company in a tough financial situation and that Mr. Bosello
 was hired to fix accounting errors.

        In or around October 2019, Mr. Bosello met with Mr. White to discuss Mr. Bosello’s
 accomplishments in the previous months. Mr. White was pleased with Mr. Bosello’s performance
 and told him that the then-current Chief Operating Officer, Mike Beal (“Mr. Beal”), and Mr.
 Arnaudy, had asked Mr. White to hire more people like Mr. Bosello. During the meeting Mr.
 Bosello asked Mr. White for a salary increase and explained that the health insurance offered by
 Senior Care Centers was too expensive and did not help to cover Mr. Bosello’s HIV medications.
 When Mr. Bosello mentioned his HIV medications, Mr. White’s “face changed with a disgusting
 look on his face” and then Mr. White asked Mr. Bosello if he was “gay.” Mr. Bosello felt


 1
  The claims set forth in this letter are not all encompassing or conclusive and nothing in this correspondence should
 be considered a waiver of Mr. Bosello’s procedural or substantive rights to bring additional or different claims and
 defenses all of which are expressly reserved.


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 uncomfortable by Mr. White’s personal question and chose not to answer because he thought the
 question was inappropriate.

         After Mr. White learned that Mr. Bosello had HIV, Mr. White began to noticeably avoid
 Mr. Bosello in the hallways and stopped answering Mr. Bosello’s emails. The experience he had
 with Mr. White and the way he was treated at work severely impacted Mr. Bosello’s mental health.
 Starting around October 2019, Mr. Bosello developed depression and was prescribed new
 medication that he was required to take in order to sleep.

         In or around October or November 2019, Mr. Bosello was washing his hands in the men’s
 bathroom when Mr. White entered the bathroom, saw Mr. Bosello, called him a “fucking
 disgusting gay,” and then left the bathroom.

        In or around November 2019, during a weekly finance meeting, Mr. Bosello overheard part
 of a derogatory comment Mr. White made regarding Mr. Bosello’s sexual orientation and not
 wanting to sit next to Mr. Bosello. Mr. White’s inappropriate comments about Mr. Bosello caused
 people at the meeting to laugh and made Mr. Bosello uncomfortable.

        In or around December 2019, Ms. Mackey told Mr. Bosello that Mr. Joseph would be laid
 off “because he is a high paid manager” and that Mr. Bosello would become the accounting
 manager reporting to Mr. White. Mr. White also told Mr. Bosello that the company did not need
 two accounting managers.

         After this encounter, Mr. Arnaudy asked Mr. Bosello to join the meeting room with Mr.
 Beal. In this meeting, Mr. Bosello was told that because of the company’s bankruptcy they could
 no longer afford Mr. Bonello’s salary and then walked him out of the room. When Mr. Bosello
 asked if Mr. Joseph would be let go, Mr. Arnaudy and Mr. Beal said that Mr. Joseph was not going
 to be let go, contradicting their comments made to Mr. Bosello in August 2019.

        In or around December 2019, Mr. Bosello was terminated. Mr. Bosello was subjected to a
 discriminatory termination because of his disability and his perceived sexual orientation.

        In March 2020, Mr. Bosello was informed by employees at Abri that he was the only
 employee that was terminated. Contrary to the reason given for Mr. Bosello’s termination,
 management decided to keep the director of accounting, finance director, and treasury manager
 who all have high paying salaries with “little to nothing to do.”

         Mr. Bosello filed a Charge of Discrimination with the EEOC on April 28, 2020 based upon
 the discrimination, harassment, and retaliation he experienced on the basis of his sexual orientation
 and disability. At the time of filing, it was our position that there was a strong argument that sexual
 orientation, as a critical part of sex, was covered by Title VII of the Civil Rights Act of 1964. See
 Equal Emp’t Opportunity Comm’n v. Boh Bros. Const. Co., 731 F.3d 444, 453 (5th Cir. 2013) (en
 banc); Price Waterhouse v. Hopkins, 490 U.S. 228 (1989). In June 2020, the United States
 Supreme Court removed any and all doubt. Bostock v. Clayton County, Georgia, 140 S. Ct.
 1731, 1741 (2020) (“The statute’s message for our cases is equally simple and momentous:



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 An individual's homosexuality . . . is not relevant to employment decisions”). Abri
 management’s abhorrent discrimination and harassment of our client has only become more
 clearly violative of Title VII’s prohibition of sex discrimination in the workplace.

         Given the gravity of the harm Mr. Bosello has suffered as a result of Abri’s conduct, we
 have been retained to preserve all of our client’s legal rights. After concluding our initial
 investigation, we are confident in the strength of Mr. Bosello’s claims. Nonetheless, we have been
 authorized to contact you to explore the possibility of a confidential resolution of this matter prior
 to Mr. Bosello pursuing further EEOC action or any resultant litigation. We would appreciate the
 opportunity to discuss Mr. Bosello’s claims with you or your representative. If we do not hear
 from you within fourteen (14) days, we will take that to mean that you do not desire to work with
 us towards an amicable outcome and will advise our client accordingly.

         While the nature of this letter is in the spirit of resolution, it is also to remind you of your
 ongoing obligations with respect to record retention. Therefore, any and all records, in any form,
 electronic or paper, shall be preserved at once and a litigation hold put in place immediately. The
 type of material to be preserved includes all paper documents and electronically stored information
 including, but not limited to surveillance video, e-mail, voicemail, text messages, instant messages,
 image or video files, and word processing files that are in your possession, custody or control,
 whether stored on computers or other storage media (e.g. hard disks, backup tapes, zip cartridges,
 CD’s, DVD’s, etc.). We ask that you take the necessary steps to ensure that all potentially relevant
 material concerning our client’s claims and employment be preserved. This letter is written without
 prejudice and without waiver of, and with full reservation of, all of our client’s rights and remedies.
 Please tender this letter to all pertinent and relevant carriers, including your EPL and/or D&O
 insurance carrier and any others as may be applicable.

        We look forward to hearing from you soon.


                                                         Sincerely,

                                                         ELLWANGER LAW,
                                                         a limited liability limited partnership

                                                         /s/ Jay D. Ellwanger
                                                         Jay D. Ellwanger




 cc:    Paul Samuel


                                                    3
